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From:            Gary Wrubel
To:              Meyers, Joe
Cc:              Chris; Joe Stec; Matt Hoffer; Justin Lipscomb
Subject:         RE: Deja Vu Floor Plan Review
Date:            Friday, February 12, 2021 11:25:24 AM
Attachments:     image001.gif
                 image002.jpg
                 image003.jpg


Hey Joe,
Thank you for the quick response and I appreciate it.
Have a great weekend

Gary Wrubel | Project Manager
Moltus Building Group
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Midland, Michigan 48642
www.moltusbuild.com
g.wrubel@moltusbuild.com

Phone: 989-486-9330
Cell: 989-898-8160
Fax: 888-886-4523
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From: Meyers, Joe <jmeyers@cityofypsilanti.com>
Sent: Friday, February 12, 2021 11:22 AM
To: Gary Wrubel <g.wrubel@moltusbuild.com>
Cc: Chris <chriscorwin5@gmail.com>; Joe Stec <j.stec@moltusbuild.com>;
matt@bradshaferlaw.com; Justin Lipscomb <j.lipscomb@moltusbuild.com>
Subject: RE: Deja Vu Floor Plan Review

Good Morning Gary,
We are working with our attorney on many items as it pertains to 31 N. Washington. He has
indicated that for now we are not to issue permits on this site. I will let you know when I have more
information.
Joe




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Joe Meyers
Director of Economic Development
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From: Gary Wrubel <g.wrubel@moltusbuild.com>
Sent: Friday, February 12, 2021 11:19 AM
To: Meyers, Joe <jmeyers@cityofypsilanti.com>
Cc: Chris <chriscorwin5@gmail.com>; Joe Stec <j.stec@moltusbuild.com>;
matt@bradshaferlaw.com; Justin Lipscomb <j.lipscomb@moltusbuild.com>
Subject: Deja Vu Floor Plan Review

Joe,
I inquired on the status of the revised floor plan for review from our project at 31 N. Washington
Ave. I spoke to the building official Kurt and he referred me to you in an email.
We were told by the clerk when we submitted the plans on 1-22-2021, that we would receive
comments back in one week
Can you provide us an update on your review?
Thank you for your time

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